        Case 2:20-cv-01975-CCW Document 130 Filed 05/02/23 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


CHRISTOPHER JAMES WALKER, KIM
STERLING, ERNIE FISHER, on behalf of
themselves and all others similarly situated,               2:20-CV-01975-CCW

               Plaintiffs,

       v.

HIGHMARK BCBSD HEALTH OPTIONS,
INC., COTIVITI, INC.

               Defendants.


                                                ORDER

       WHEREAS, the Parties in the above-captioned litigation have advised the Court that

 they have settled the litigation, the terms of which have been memorialized in a settlement

 agreement (“Settlement Agreement”);

       WHEREAS, this Court granted preliminary approval and preliminary certified a class

 for Settlement purposes on December 13, 2022;

       WHEREAS, Plaintiffs have applied to this Court through an unopposed motion for

 an order (1) finally certifying the Settlement Class for settlement purposes; (2) granting final

 approval of the Settlement Agreement resolving all claims in the above-captioned matter; and

 (3) awarding fees, costs, and service awards;

       WHEREAS, the Court has read and considered Plaintiffs’ unopposed Motion to Certify

 the Settlement Class for Settlement Purposes and for Final Approval of Class Action

 Settlement (“Motion”), the points and authorities and exhibits submitted therewith, the

 Settlement Agreement, and all of the supporting documents; and the Motion for Attorneys’

 Fees, Costs, and Service awards; and good cause appearing:
        Case 2:20-cv-01975-CCW Document 130 Filed 05/02/23 Page 2 of 4




 NOW, THEREFORE, IT IS HEREBY ORDERED:

       1.      For the reasons set forth on the record and summarized below, the Court will

GRANT the Motion for final certification of the class pursuant to Federal Rule of Civil

Procedure 23(a) and 23(b)(3) and approve the settlement pursuant to Federal Rule of Civil

Procedure 23(e).

       2.      In particular, the Court finds that Rule 23(a) is satisfied given that (i) the class is

so numerous with 7,403 members as to make joinder impracticable; (ii) there are questions of

law or fact common to the class members, given that they all allege receiving pre-recorded calls

from Defendants in violation of the TCPA; (iii) the proposed representatives’ claims are typical

of the class because the named Plaintiffs (consistent with the rest of the class) claim that they

received pre-recorded calls from Defendants in violation of the TCPA; and (iv) finally, the

representatives fairly and adequately protect the interests of the class, in light of the named

Plaintiffs’ active participation and counsel’s experience.

       3.      Furthermore, the Court finds that Rule 23(b)(3) is satisfied because (i) common

questions of fact and law predominate because the essential elements of Plaintiffs’ claim are

capable of proof at trial and common to each class member; and (ii) a class action is superior to

other methods of adjudication, given the thousands of members.

       4.      Finally, the Court finds that the settlement is “fair, reasonable and adequate”

pursuant to Federal Rule of Civil Procedure 23(e)(2) after considering the nine-factor test

established in Girsh v. Jepson, 521 F.2d 153 (3d Cir. 1975). First, this litigation has been

complex and lengthy. Second, the reaction of the class supports approval with a 21% claims

rate and no objections. Third, resolution was reached only after significant motion practice and

discovery.   Fourth and fifth, given the novel questions of law, the class faced a risk in




                                                  2
        Case 2:20-cv-01975-CCW Document 130 Filed 05/02/23 Page 3 of 4




establishing liability or damages at trial. Sixth, there are risks associated with continuing the

class action, specifically the split of authority regarding certification of a wrong number class.

Seventh, there is not a concern that Defendant would be unable to pay a final judgment, so this

factor does not weigh in favor of settlement. Eighth and ninth, the settlement is within the

range of reasonableness in light of the best possible recovery and the risks of litigation.

Therefore, the majority of the Girsh factors weigh in favor of settlement.

IT IS FURTHER ORDERED THAT:

       5.       This Order incorporates by reference the definitions in the Settlement Agreement

and all terms defined therein shall have the same meaning in this Order as set forth in the

Settlement Agreement.

       6.       Plaintiffs’ Motion is GRANTED. It appears to this Court that the Settlement Class

satisfies the elements of Fed. R. Civ. P. 23 and is fair, adequate, and reasonable.

       7.       The proposed Settlement Class is hereby finally certified pursuant to Fed. R.

Civ. P. 23(a) and (b)(2) for purposes of settlement. The Settlement Class is defined as:

            A. During the Class Period, all persons within the United States who are subscribers
               or primary users of a cellular telephone number to which Defendant Highmark
               BCBSD Health Options Inc. placed (or had placed on its behalf by Defendant
               Cotiviti, Inc.) a telephone call using a pre-recorded or artificial voice,

                  1) when such a call to that telephone number had previously resulted in (a) a
                     “WRONG_NUMBER” disposition or (b) a “MSG_DECLINED”
                     disposition without a subsequent disposition of “CORRECT_PERSON” or
                     “MSG_HUMAN” and

                  2) when at least one subsequent call to that telephone number had the disposition
                      “WRONG_NUMBER”,“MSG_MACHINE”,            “CORRECT_PERSON”,
                      “MSG_HUMAN”, “HANGUP”, “NO_CONTINUE”, or “MSG_DECLINED”.

              B. Excluding those persons who only received calls as part of a COVID Campaign,
                 as well as Defendants and any entities in which Defendants have a controlling
                 interest; Defendants’ agents and employees; any Judge and Magistrate Judge to
                 whom this action is assigned and any member of their staffs and immediate




                                                 3
         Case 2:20-cv-01975-CCW Document 130 Filed 05/02/23 Page 4 of 4




                 families.

       8.      The Court finally appoints Jeremy M. Glapion as Class Counsel, and Plaintiffs

Christopher Walker, Kim Sterling, and Ernie Fisher as representatives of the Settlement Class;

       9.      Accordingly, the Court GRANTS final approval to the Settlement Agreement.

       10.     Finally, the Court further GRANTS Plaintiffs’ Motion for Attorneys’ Fees,

Costs, and Service Awards; Class Counsel is hereby awarded $616,666.67 in fees and

$21,161.52 in Costs; Plaintiff Walker is awarded $10,000 for his service to the class; Plaintiff

Fisher is awarded $2,500 for his service to the Class; and Plaintiff Sterling is awarded $2,500

for her service to the Class.

       11.     All amounts awarded hereunder shall be paid in accordance with the Settlement

Agreement.



         ORDERED this 2nd day of May, 2023.



                                                    BY THE COURT:



                                                    /s/ Christy Criswell Wiegand
                                                    CHRISTY CRISWELL WIEGAND
                                                    United States District Judge




     cc (via ECF email notification):
     All Counsel of Record




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